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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF NEW YORK

    FIVE STAR BANK,
                                             Plaintiff,
                                V.
                                                                       CASE NO. 6:24-CV-06153-FPG

    KATHERINE MOTT; ROBERT HARRIS; KRM
    EVENTS, LLC; KATHERINE’S ON MONROE, LLC;                           THIRD MONTHLY
    THE DIVINITY ESTATE AND CHAPEL, LLC; KNC                           APPLICATION OF RECEIVER
    ELEGANCE, LLC D/B/A THE WINTERGARDEN BY                            MARK R. KERCHER, CPA
    MONROES; 11 WEXFORD GLEN, LLC; RCC                                 FOR ALLOWANCE OF
    MONROES LLC; NAF REMODELING LLC;                                   COMPENSATION AND
    MONROES AT RIDGEMONT LLC CRESCENT                                  REIMBURSEMENT OF
    BEACH    AT    THE    LAKE   LLC;  MOTT                            EXPENSES
    MANAGEMENT LLC; KRISTINE BOURNE;
    TAYLOR PAGANO; TIMOTHY LAROCCA
                                             Defendants.

        MARK R. KERCHER, CPA, declares the following under penalty of perjury:

        Pursuant to the Order Appointing Receiver Over the Defendant Entities (ECF Dkt. No. 39),

entered by this Court on April 8, 2024 (“Receiver Appointment Order”)1, I am the Receiver (the

“Receiver” or “I”) for the Defendant Entities in the above-captioned matter.

        I make this application pursuant to the Receiver Appointment Order for authorization of

payment for my services rendered and expenses incurred in my capacity as Receiver during the

period June 1, 2024 through June 30, 2024 (the “Compensation Period”).

        During the Compensation Period, I billed 41.4 hours for services rendered in my capacity

as Receiver. A detailed description of my services is rendered is set forth below. My detailed

time records for the Compensation Period are attached hereto as Exhibit “A”.




1
 Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such terms in the
Receiver Appointment Order.
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       1.      Financial Management. The majority of my time continues to be devoted to the

financial management of the Defendant Entities, falling within the scope of the appointment,

specifically the obligation to protect and preserve the Defendant Entities’ assets and future revenue

stream. During the Compensation Period, I continued to keep all vendor payments, payroll funding

and discharge of other obligations current to the extent possible.

       2.      Search for Capital. During the Compensation Period, I worked with counsel for

the Defendant Entities to monetize certain assets of the Defendant Entities to provide funds for

ongoing business operations and, importantly, to settle unpaid withholding and sales tax

obligations. The Defendant Entities arranged for the sale of two rental houses to Katherine Mott’s

son for approximately $560,000 in the aggregate. The transaction (which closed in July) was to be

privately financed by an outside lender, and the funds would be directed to the Mott Management

Receiver account.

       3.      Preparation of Receiver’s Report. During the second half of the Compensation

Period I spent significant time drafting and preparing my initial Receiver’s Report. In doing so I

worked with my assistant Amy Snowberger to finalize a financial presentation to include in the

report, as well as additional financial statements for the receivership’s use. Because of the

importance of this initial report (which was the subject of at least one Buffalo News article after it

was filed) as to my experiences and assessments from the commencement of the receivership, and

given the very public dispute which resulted in this lawsuit, I wanted the initial report to the Court

to be straightforward, candid, unbiased, and professional. I held several conferences with my

counsel Harter Secrest & Emery LLP (“HSE”) where I provided my feedback and comments and

made multiple revisions in order to finalize the report.




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       4.      Retention of Counsel. After the dismissal of the motion to recover funds from Five

Star Bank, I determined it was in the best interest of the receivership for me to retain experienced

counsel. I contacted lawyers at Harter Secrest & Emery LLP (“HSE”) and familiarized the firm

with this matter, and thereafter I made application to the Court retain HSE, which was granted. I

conferred regularly with HSE during the Compensation Period. I worked particularly closely with

HSE in drafting and revising the initial Receiver’s Report and preparing it for filing with the Court.

       5.      Accounting and Financial Due Diligence Matters. During the Compensation

Period, my assistant Amy Snowberger and I continued to review the books, records, and other

documentation of the Defendant Entities’ to understand their financial position. For the initial

Receiver’s Report, we finalized an unaudited financial reflecting sources and uses of cash for the

period April 1 through May 15, 2024.

       6.      Communications. During the Compensation Period, I had numerous phone and

virtual conversations and meetings as well as correspondence with many parties in interest. These

people include (i) David Rothenberg and David Ealy, Defendant Entities’ counsel, regarding the

sale of properties as well as a proposed lawsuit against Community Bank to recover amounts

transferred to Five Star Bank, (ii) Leslie Schoenthal and several other employees of the Defendant

Entities, (iii) Broadway Advance, the Defendant Entities’ receivables lender, (iv) Ridgemont

Country Club, landlord of the Defendant Entities, (v) Alliance Payroll, (vi) numerous vendors, and

(vii) Katherine Mott. These communications are noted in my time records.

       7.      Under the Receiver Appointment Order, the court authorized $350 per hour as the

reasonable for my services rendered as Receiver, and the court also authorized a reasonable fee of

$175 per hour for driving and travel time. The total amount for which I request compensation,

based on my billable time of 41.4 hours of regular time for actual, reasonable and necessary



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services rendered under and pursuant to the Receiver Appointment Order by me as Receiver during

the Compensation Period, is $14,140.00.

       8.      Based upon the foregoing, the Receiver requests approval for compensation for

actual, reasonable and necessary services rendered under and pursuant to the Receiver

Appointment Order by me as Receiver during the Compensation Period of $14,140.00.

       9.      In my capacity as Receiver, I incurred reasonable and necessary out-of-pocket

disbursements during the Compensation Period in the total amount of $83.08, as set forth in

Exhibit “A” attached hereto.

       10.     Based upon the foregoing, the Receiver requests approval for reimbursement of all

of his disbursements during the Compensation Period in the total sum of $83.08.

       11.     Additionally, I respectfully submit to the court for approval the invoice of Ms. Amy

Snowberger, CPA for July 2024, a copy of which is attached hereto as Exhibit “B”. Pursuant to

the Court’s docket order entered on May 16, 2024 (ECF Dkt. No. 57), the Court authorized me to

retain Ms. Snowberger to assist in the accounting and bookkeeping at a fee of $65 per hour, which

the Court deemed a reasonable fee. Ms. Snowberger has provided general bookkeeping services

to the receivership and has also assisted me in financial due diligence. During July, Ms.

Snowberger billed 107.25 hours of time resulting in a fee for July of $6,971.25.

                                    [Signature page follows]




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       WHEREFORE, pursuant to the Receiver Appointment Order, for the period June 1, 2024

through June 30, 2024, I respectfully request an order of the Court approving (i) payment of

compensation in the amount of $14,140.00 on account of actual, reasonable and necessary services

rendered under and pursuant to the Receiver Appointment Order by me as Receiver, (ii)

reimbursement of actual and necessary costs and expenses in the amount of $83.08 incurred by me

in my capacity as Receiver, and (iii) payment of compensation to Amy Snowberger, CPA for the

period July, 2024 in the amount of $6,971.25 on account of actual, reasonable and necessary

services rendered for accounting and bookkeeping services to the receivership.

Dated: August 7, 2024


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                                                   Mark R. Kercher, CPA, Receiver
                                                                                     e/f
